        Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 1 of 39


                       SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                           CIVIL DIVISION – CIVIL ACTIONS BRANCH
                             500 INDIANA AVENUE NW, Room 5000
                                   WASHINGTON, DC 20001




Date:     01/06/2022

The Honorable Angela Caesar, Clerk
United States District Court for the District of Columbia
3rd and Constitution Avenue, Washington, D.C. 20001


In Re:            GALLO, ALEXANDER Vs. DISTRICT OF COLUMBIA




Civil Action Number: 2021 CA 004322 B

U.S. District Number: 1:21-cv-03298


Dear Ms. Angela Caesar:


       Transmitted herewith are all of the pleadings filed in the above captioned
case pursuant to a Petition for Removal Filed in the District of Columbia Superior
Court on 12/16/2021 . A certified copy of the docket entries is also enclosed.

        Please acknowledge receipt of our file on a duplicate copy of this letter, and
return it to this Court.

                                      Sincerely,



                                      Joy Jefferson, Branch Chief
                                      Civil Actions Branch

                          Completed By: /s/ Michelle James




                                                                                         Modified: 4/30/2021 jjw
Date: 01/04/2022      15:09:54.1             Docket Sheet                        Page: 1

CRTR5925
                       Case 1:21-cv-03298-TNMSummary
                                               Document 5 Filed 01/06/22 Page 2 of 39


Case Number                         Status                             Judge
2021 CA 004322 B               Closed                                  PUIG-LUGO, HIRAM E

In The Matter Of                                                       Action

GALLO, ALEXANDER      Vs. DISTRICT OF COLUMBIA                         Complaint for
                                                                       Declaratory
                                                                       Judgment Filed

Party                                               Attorneys
GALLO, ALEXANDER                        PLNTF       PRO SE


DISTRICT OF COLUMBIA                    DFNDT       AMARILLAS, FERNANDO


Opened                              Disposed                           Case Type
11/19/2021                          Removal-Notice of                  Civil II
                                    Removal To USDC

Comments:


No.         Date of   Pleadings Filed, Orders and Decrees       Amount Owed/         Balance Due
                      Journal Book-Page-Nbr     Ref Nbr         Amount Dismissed

1           01/04/22 Notice of Hearing Mailed Next Business               0.00
                     Day                                                                    0.00

                      Notice Of Removal
                      Sent on: 01/04/2022    15:06:07.56


2           12/23/21 Notice of Removal to USDC Filed                      0.00
                     1:21-cv-03298                                                          0.00


3           12/23/21 Event Resulted:                                      0.00
                     The following event: Initial                                           0.00
                     Scheduling Conference-60 scheduled for
                     02/18/2022 at 9:30 am has been
                     resulted as follows:

                      Result: Event Not Held Case Dismissed
                      Judge: PUIG-LUGO, HIRAM E    Location:
                      Courtroom 318


4           12/16/21 Notification of Removal Filed.                       0.00
                     Submitted 12/16/2021 12:00. kd                                         0.00
                     Attorney: BLUMING, MICAH I (1618961)
                     FERNANDO AMARILLAS (Attorney) on
                     behalf of DISTRICT OF COLUMBIA
                     (Defendant); MICAH I BLUMING
                     (Attorney) on behalf of DISTRICT OF
                     COLUMBIA (Defendant)


5           11/24/21 Proof of Service                                     0.00
                        Method    : Service Issued                                          0.00
                        Issued    : 11/19/2021
                        Service   : Summons Issued
                        Served    : 11/22/2021
                        Return    : 11/24/2021
                        On        : DISTRICT OF COLUMBIA
                        Signed By : Certified Mail

                         Reason    : Proof of Service
                         Comment   :

                         Tracking #: 5000237761
Date: 01/04/2022     15:09:54.3               Docket Sheet                                                               Page: 2

CRTR5925
                      Case 1:21-cv-03298-TNMSummary
                                              Document 5 Filed 01/06/22 Page 3 of 39

2021 CA 004322 B      GALLO, ALEXANDER     Vs. DISTRICT OF COLUMBIA


No.        Date of   Pleadings Filed, Orders and Decrees                    Amount Owed/                                                  Balance Due
                     Journal Book-Page-Nbr     Ref Nbr                      Amount Dismissed


6          11/23/21 Affidavit of Service of Summons &                                                   0.00
                    Complaint on                                                                                                                               0.00
                    DISTRICT OF COLUMBIA (Defendant);


7          11/19/21 Issue Date: 11/19/2021                                                              0.00
                    Service: Summons Issued                                                                                                                    0.00
                    Method: Service Issued
                    Cost Per: $


                        DISTRICT OF COLUMBIA
                        400 6th Street NW
                        WASHINGTON, DC    20001
                        Tracking No: 5000237761




8          11/19/21 Initial Order and Addendum Issued (60                                               0.00
                    Days)                                                                                                                                      0.00

                     Initial Order-60 Days
                     Sent on: 11/19/2021 09:16:27.25


9          11/19/21 Event Scheduled                                                                     0.00
                    Event: Initial Scheduling                                                                                                                  0.00
                    Conference-60
                    Date: 02/18/2022    Time: 9:30 am
                    Judge: PUIG-LUGO, HIRAM E    Location:
                    Courtroom 318


10         11/19/21 Complaint for Damages and Declaratory                                       120.00
                    Relief (42 USC 1983) Filed. km                                                                                                             0.00
                    Attorney: PRO SE (999999)
                    ALEXANDER GALLO (Plaintiff); Receipt:
                    483194 Date: 11/19/2021




                              Totals By:     Cost
                                                                                           120.00                                                              0.00
                                             Information
                                                                                                    0.00                                                       0.00
                              *** End of Report ***




                                                Mr. Jearl J. Ward, Branch       Digitally signed by Mr. Jearl J. Ward, Branch Supervisor
                                                                                DN: cn=Mr. Jearl J. Ward, Branch Supervisor, o=D.C. Superior Court, ou=Civil

                                                Supervisor                      Division - Civil Actions Branch, email=jearl.ward@dcsc.gov, c=US
                                                                                Date: 2022.01.06 07:55:59 -05'00'
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 4 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 5 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 6 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 7 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 8 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 9 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 10 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 11 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 12 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 13 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 14 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 15 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 16 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 17 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 18 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 19 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 20 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 21 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 22 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 23 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 24 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 25 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 26 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 27 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 28 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 29 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 30 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 31 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 32 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 33 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 34 of 39
Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 35 of 39
       Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 36 of 39

            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

                                        January 4, 2022



CASE NAME: ALEXANDER GALLO Vs. DISTRICT OF COLUMBIA

CASE NUMBER: 2021 CA 004322 B


                               NOTICE OF REMOVAL

This case has been removed to the U.S. District Court for the District of Columbia. Any
unresolved motion filed in this case prior to its removal is moot as of the date of this notice.
Should the U.S. District Court remand the case back to this Court, moving party may request
reinstatement of a motion filed prior to removal of the case by filing a praecipe requesting that
the named motion(s) be reinstated. A Certificate of Service to all parties must accompany the
praecipe.

NO FURTHER PLEADINGS WILL BE ACCEPTED FOR FILING IN THE SUPERIOR
COURT AT THIS TIME.




                      D. C. Superior Court                                      First Class Mail
                      500 Indiana Avenue NW                                      U. S. Postage
                      Room JM-170                                                     Paid
                      Washington D.C. 20001                                     Washington, D.C.
                                                                                Permit No. 1726



                                      FERNANDO AMARILLAS
                                      ATTORNEY GENERAL FOR D.C.
                                      441 Fourth Street NW, Sixth Floor South
                                      WASHINGTON, DC 20001
2021 CA 004322 B



                                                                                       CANOR
       Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 37 of 39

            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

                                        January 4, 2022



CASE NAME: ALEXANDER GALLO Vs. DISTRICT OF COLUMBIA

CASE NUMBER: 2021 CA 004322 B


                               NOTICE OF REMOVAL

This case has been removed to the U.S. District Court for the District of Columbia. Any
unresolved motion filed in this case prior to its removal is moot as of the date of this notice.
Should the U.S. District Court remand the case back to this Court, moving party may request
reinstatement of a motion filed prior to removal of the case by filing a praecipe requesting that
the named motion(s) be reinstated. A Certificate of Service to all parties must accompany the
praecipe.

NO FURTHER PLEADINGS WILL BE ACCEPTED FOR FILING IN THE SUPERIOR
COURT AT THIS TIME.




                      D. C. Superior Court                                  First Class Mail
                      500 Indiana Avenue NW                                  U. S. Postage
                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
                                                                            Permit No. 1726



                                      MICAH I BLUMING
                                      Office of the Attorney General
                                      441 4th Street
                                      WASHINGTON, DC 20001
2021 CA 004322 B



                                                                                   CANOR
       Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 38 of 39

            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

                                        January 4, 2022



CASE NAME: ALEXANDER GALLO Vs. DISTRICT OF COLUMBIA

CASE NUMBER: 2021 CA 004322 B


                               NOTICE OF REMOVAL

This case has been removed to the U.S. District Court for the District of Columbia. Any
unresolved motion filed in this case prior to its removal is moot as of the date of this notice.
Should the U.S. District Court remand the case back to this Court, moving party may request
reinstatement of a motion filed prior to removal of the case by filing a praecipe requesting that
the named motion(s) be reinstated. A Certificate of Service to all parties must accompany the
praecipe.

NO FURTHER PLEADINGS WILL BE ACCEPTED FOR FILING IN THE SUPERIOR
COURT AT THIS TIME.




                      D. C. Superior Court                                  First Class Mail
                      500 Indiana Avenue NW                                  U. S. Postage
                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
                                                                            Permit No. 1726



                                      ALEXANDER GALLO
                                      950 25th St NW #329N
                                      WASHINGTON, DC 20037
2021 CA 004322 B




                                                                                   CANOR
       Case 1:21-cv-03298-TNM Document 5 Filed 01/06/22 Page 39 of 39

            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

                                        January 4, 2022



CASE NAME: ALEXANDER GALLO Vs. DISTRICT OF COLUMBIA

CASE NUMBER: 2021 CA 004322 B


                               NOTICE OF REMOVAL

This case has been removed to the U.S. District Court for the District of Columbia. Any
unresolved motion filed in this case prior to its removal is moot as of the date of this notice.
Should the U.S. District Court remand the case back to this Court, moving party may request
reinstatement of a motion filed prior to removal of the case by filing a praecipe requesting that
the named motion(s) be reinstated. A Certificate of Service to all parties must accompany the
praecipe.

NO FURTHER PLEADINGS WILL BE ACCEPTED FOR FILING IN THE SUPERIOR
COURT AT THIS TIME.




                      D. C. Superior Court                                  First Class Mail
                      500 Indiana Avenue NW                                  U. S. Postage
                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
                                                                            Permit No. 1726



                                      DISTRICT OF COLUMBIA
                                      400 6th Street NW
                                      WASHINGTON, DC 20001
2021 CA 004322 B




                                                                                   CANOR
